CANB Live Database                                               https://canb-ecf.sso.dcn/cgi-bin/DktRpt.pl?107052852811879-L_1_0-1
                           Case 5:23-cv-04521-PCP Document 1-3 Filed 09/05/23 Page 1 of 11

                                                            FilingFeeDue, DebtEd, APPEAL, NSP, DISMISSED


                                                U.S. Bankruptcy Court
                                  California Northern Bankruptcy Court (Santa Rosa)
                                            Bankruptcy Petition #: 23-10092
                                                                                          Date filed: 02/28/2023
          Assigned to: Judge Dennis Montali                                     Debtor dismissed: 08/09/2023
          Chapter 13                                                                  341 meeting: 09/12/2023
                                                                         Deadline for filing claims: 05/09/2023
          Voluntary
          Asset


          Debtor                                                     represented by Ordell Elizabeth Moon
          Ordell Elizabeth Moon                                                     PRO SE
          1905 Bristol St.
          Petaluma, CA 94954
          SONOMA-CA
          SSN / ITIN: xxx-xx-9087

          Trustee
          David Burchard
          P.O. Box 8059
          Foster City, CA 94404
          (650) 345-7801

          U.S. Trustee
          Office of the U.S. Trustee / SR
          Office of the United States Trustee
          Phillip J. Burton Federal Building
          450 Golden Gate Ave. 5th Fl., #05-0153
          San Francisco, CA 94102


             Filing Date                  #                                     Docket Text

                                      1            Chapter 13 Voluntary Petition Individual, Fee not paid. Filed by Ordell
                                      (7 pgs)      Elizabeth Moon . Incomplete Filings due by 3/14/2023. Order Meeting
                                                   of Creditors due by 3/30/2023. (ds) Note: Document missing page 9.
           02/28/2023                              Modified on 2/28/2023 (ds). (Entered: 02/28/2023)

                                      2            Statement About Your Social Security Numbers Filed by Debtor Ordell
           02/28/2023                              Elizabeth Moon (ds) (Entered: 02/28/2023)

                                                   Receipt Number 27458EQ1, Fee Amount $313.00 (RE: related
                                                   document(s)1 Voluntary Petition (Chapter 13)). (jf) (Entered:
           02/28/2023                              02/28/2023)

                                      3            Creditor Matrix Filed by Debtor Ordell Elizabeth Moon (ds) (Entered:
           02/28/2023                 (2 pgs)      02/28/2023)




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CANB Live Database                                                https://canb-ecf.sso.dcn/cgi-bin/DktRpt.pl?107052852811879-L_1_0-1
                       Case 5:23-cv-04521-PCP Document 1-3 Filed 09/05/23 Page 2 of 11

                                  4                 Certificate of Counseling Filed by Debtor Ordell Elizabeth Moon (ds)
          02/28/2023              (1 pg)            (Entered: 02/28/2023)

                                  5                 Order to File Required Documents and Notice of Automatic Dismissal .
          02/28/2023              (2 pgs; 2 docs)   (ds) (Entered: 02/28/2023)

                                  6                 Request for Notice Filed by Creditor Synchrony Bank. (Smith, Valerie)
          03/01/2023              (1 pg)            (Entered: 03/01/2023)

                                  7                 Meeting of Creditors with Certificate of Service. 341(a) meeting to be
                                  (3 pgs; 2 docs)   held on 4/11/2023 at 11:00 AM Tele/Videoconference -
                                                    www.canb.uscourts.gov/calendars Objection to Dischargeability due by
                                                    6/12/2023 Proofs of Claims due by 5/9/2023 Last day to object to
                                                    confirmation is 4/11/2023 Confirmation Hearing scheduled for
                                                    5/10/2023 at 10:00 AM in/via Tele/Videoconference -
                                                    www.canb.uscourts.gov/calendars. (Burchard, David (tm)) (Entered:
          03/01/2023                                03/01/2023)

                                  8                 Order Re: Chapter 13 Plan Payments and Adequate Protection
          03/01/2023              (2 pgs; 2 docs)   Payments (admin) (Entered: 03/01/2023)

                                  9                 BNC Certificate of Mailing (RE: related document(s) 5 Order to File
                                  (2 pgs)           Missing Documents). Notice Date 03/02/2023. (Admin.) (Entered:
          03/02/2023                                03/02/2023)

                                  10                BNC Certificate of Mailing (RE: related document(s) 8 Order Re Ch 13
                                  (2 pgs)           Plan and Adequate Protection Payments). Notice Date 03/04/2023.
          03/04/2023                                (Admin.) (Entered: 03/04/2023)

                                  11                BNC Certificate of Mailing - Meeting of Creditors. (RE: related
                                  (4 pgs)           document(s) 7 Meeting of Creditors Chapter 13). Notice Date
          03/04/2023                                03/04/2023. (Admin.) (Entered: 03/04/2023)

                                  12                Request for Notice Filed by Creditor Deutsche Bank National Trust
                                  (2 pgs)           Company, as Indenture Trustee under the Indenture relating to IMH
                                                    Assets Corp., Collateralized Asset-Backed Bonds, Series 2005-7
          03/06/2023                                (Covey, Theron) (Entered: 03/06/2023)

                                  13                Notice of Appearance and Request for Notice by Christina J. Khil.
                                  (4 pgs)           Filed by Creditor Cenlar FSB as Servicer for Citibank, N.A. (Khil,
          03/09/2023                                Christina) (Entered: 03/09/2023)

                                  14                Motion to Extend Time Filed by Debtor Ordell Elizabeth Moon (lj)
          03/10/2023              (11 pgs)          (Entered: 03/10/2023)

                                  15                Order Granting Extension of Time (Related Doc # 14) Incomplete
          03/15/2023              (4 pgs; 2 docs)   Filings due by 4/27/2023 for 1, (lp) (Entered: 03/15/2023)

                                  16                BNC Certificate of Mailing (RE: related document(s) 15 Order on
                                  (4 pgs)           Motion to Extend Time). Notice Date 03/17/2023. (Admin.) (Entered:
          03/17/2023                                03/17/2023)




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                                  17                Notice of Mortgage Payment Change (No Proof of Claim Filed). With
                                  (12 pgs)          Proof of Service Filed by Creditor Citibank, N.A.. (Khil, Christina)
          03/24/2023                                (Entered: 03/24/2023)

                                  18                Notice of Bankruptcy Case, Meeting of Creditors, and Deadlines
                                                    (Generated) (rs) DEFECTIVE ENTRY: Clerk docketed in error. The
                                                    BNC notice will not be generated. Modified on 4/10/2023 (rs).
          04/10/2023                                (Entered: 04/10/2023)

                                                    Statement Adjourning Meeting of 341(a) Meeting of Creditors.
                                                    Meeting of Creditors Continued. Next Meeting of Creditors to be Held
                                                    on 5/9/2023 at 02:00 PM at Tele/Videoconference -
                                                    www.canb.uscourts.gov/calendars. Debtor absent. (Burchard, David)
          04/12/2023                                (Entered: 04/12/2023)

                                                    Case is transferred to the Chapter 13 Pending List pursuant to the
                                                    Chapter 13 Calendar Procedures posted on the Court's Website and
                                                    Chapter 13 Trustee's Website. Confirmation Hearing off calendar .
          04/12/2023                                (Burchard, David (tm)) (Entered: 04/12/2023)

                                  19                Notice Regarding NOTICE OF ERRATA RE: NOTICE OF
                                  (3 pgs)           MORTGAGE PAYMENT CHANGE with Proof of Service (RE: related
                                                    document(s)17 Notice of Mortgage Payment Change (No Proof of
                                                    Claim Filed). With Proof of Service Filed by Creditor Citibank, N.A..).
                                                    Filed by Creditor Citibank, N.A. (Khil, Christina) (Entered:
          04/18/2023                                04/18/2023)

                                  20                Application for Notice of Appearance of Next Friend Under Power of
                                  (3 pgs; 2 docs)   Attorney Filed by Interested Party Don Shannon (Attachments: # 1
          04/20/2023                                proposed order) (myt) (Entered: 04/20/2023)

                                  21                Declaration of Service (RE: related document(s)20 Motion
                                  (1 pg)            Miscellaneous Relief). Filed by Interested Party Don Shannon (myt)
          04/20/2023                                (Entered: 04/20/2023)

                                  22                Order Regarding Application for Notice of Appearance of Next Friend
                                  (3 pgs; 2 docs)   Under Power of Attorney (RE: related document(s)20 Motion
                                                    Miscellaneous Relief filed by Interested Party Don Shannon). (lp)
          04/26/2023                                (Entered: 04/26/2023)

                                  23                Statement of Financial Affairs for Individual Filed by Debtor Ordell
          04/26/2023              (12 pgs)          Elizabeth Moon (myt) (Entered: 04/27/2023)

                                  24                Chapter 13 Statement of Your Current Monthly Income and Calculation
                                  (4 pgs)           of Commitment Period for 3 Years. Disposable Income Is Not
                                                    Determined Filed by Debtor Ordell Elizabeth Moon (myt) (Entered:
          04/26/2023                                04/27/2023)

                                  25                Declaration About Individual Debtor's Schedule Filed by Debtor Ordell
          04/26/2023              (1 pg)            Elizabeth Moon (myt) (Entered: 04/27/2023)

                                  26                Immediate Durable Power of Attorney and Nomination of Conservator
          04/26/2023              (9 pgs)           (RE: related document(s)22 Order). Filed by Interested Party Don



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                                                     Shannon (myt) (Entered: 04/27/2023)

                                  27                 Chapter 13 Plan Filed by Debtor Ordell Elizabeth Moon . (myt)
          04/26/2023              (9 pgs)            (Entered: 04/27/2023)

                                  28                 Application for Notice of Appearance of Next Friend Under Correct
                                  (3 pgs; 2 docs)    Power of Attorney Filed by Interested Party Don Shannon
          04/27/2023                                 (Attachments: # 1 proposed order) (myt) (Entered: 04/27/2023)

                                  29                 Declaration of Service (RE: related document(s)28 Motion
                                  (1 pg)             Miscellaneous Relief). Filed by Interested Party Don Shannon (myt)
          04/27/2023                                 (Entered: 04/27/2023)

                                  30                 Notice of Deficient Filing Regarding Obsolete Forms and Dismissal of
                                  (2 pgs; 2 docs)    Case in Event of Failure to Cure Official Forms due by 5/11/2023. (dc)
          04/27/2023                                 (Entered: 04/27/2023)

                                  31                 BNC Certificate of Mailing (RE: related document(s) 22 Order). Notice
          04/28/2023              (3 pgs)            Date 04/28/2023. (Admin.) (Entered: 04/28/2023)

                                  32                 BNC Certificate of Mailing (RE: related document(s) 30 Notice of
                                  (2 pgs)            Obsolete Forms). Notice Date 04/29/2023. (Admin.) (Entered:
          04/29/2023                                 04/29/2023)

                                  33                 Order Approving Application for Notice of Appearance of Next Friend
                                  (4 pgs; 2 docs)    Under Power of Attorney (RE: related document(s)22 Order, 28
                                                     Motion Miscellaneous Relief filed by Interested Party Don Shannon).
          05/01/2023                                 (lp) (Entered: 05/01/2023)

                                  34                 BNC Certificate of Mailing (RE: related document(s) 33 Order). Notice
          05/03/2023              (4 pgs)            Date 05/03/2023. (Admin.) (Entered: 05/03/2023)

                                  35                 Objection to Confirmation of Plan Filed by Creditor Cenlar FSB as
          05/09/2023              (3 pgs)            Servicer for Citibank, N.A. (Khil, Christina) (Entered: 05/09/2023)

                                                     Statement Adjourning Meeting of 341(a) Meeting of Creditors.
                                                     Meeting of Creditors Continued. Next Meeting of Creditors to be Held
                                                     on 6/13/2023 at 02:00 PM at Tele/Videoconference -
                                                     www.canb.uscourts.gov/calendars. Debtor appeared. (Burchard, David)
          05/10/2023                                 (Entered: 05/10/2023)

                                  36                 Objection to Proof of Claim (#1) of Citibank N.A. for Cause by
                                  (41 pgs; 2 docs)   Claimant Citibank, N.A. Filed by Debtor Ordell Elizabeth Moon ,
                                                     Interested Party Don Shannon . (Attachments: # 1 proposed order)
          05/10/2023                                 (myt) (Entered: 05/11/2023)

                                  37                 Notice of Objection to Proof of Claim of Citibank N.A. for Cause and
                                  (1 pg)             Notice of Hearing (RE: related document(s)36 Objection to Claim
                                                     Number 1 by Claimant Citibank, N.A. Filed by Debtor Ordell Elizabeth
                                                     Moon , Interested Party Don Shannon . (Attachments: # 1 proposed
                                                     order) (myt)). Filed by Debtor Ordell Elizabeth Moon , Interested Party
          05/10/2023                                 Don Shannon (myt) (Entered: 05/11/2023)




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                                  38                 Objection to any Proof of Claim Filed by Deutsche Bank National
                                  (38 pgs; 2 docs)   Trust Company Filed by Debtor Ordell Elizabeth Moon , Interested
                                                     Party Don Shannon . (Attachments: # 1 proposed order) (myt)
          05/10/2023                                 (Entered: 05/11/2023)

                                  39                 Notice of Objection to Claim of Deutsche Bank National Trust
                                  (1 pg)             Company for Cause and Notice of Hearing (RE: related document(s)38
                                                     Objection to any Proof of Claim Filed by Deutsche Bank National
                                                     Trust Company Filed by Debtor Ordell Elizabeth Moon , Interested
                                                     Party Don Shannon . (Attachments: # 1 proposed order) (myt)). Filed
                                                     by Debtor Ordell Elizabeth Moon , Interested Party Don Shannon (myt)
          05/10/2023                                 (Entered: 05/11/2023)

                                  40                 Letter to Synchrony. Filed by Debtor Ordell Elizabeth Moon ,
          05/10/2023              (1 pg)             Interested Party Don Shannon (myt) (Entered: 05/11/2023)

                                  41                 Chapter 13 Plan Filed by Debtor Ordell Elizabeth Moon , Interested
          05/10/2023              (15 pgs)           Party Don Shannon . (myt) (Entered: 05/11/2023)

                                  42                 Order to File Required Documents (May 26, 2023 Deadline) (RE:
          05/15/2023              (4 pgs; 2 docs)    related document(s)33 Order). (lp) (Entered: 05/15/2023)

                                  43                 First Amended Objection to Proof of Claim (#1) of Citibank N.A for
                                  (5 pgs; 2 docs)    Cause by Claimant Citibank, N.A. Filed by Debtor Ordell Elizabeth
                                                     Moon , Interested Party Don Shannon . (Attachments: # 1 proposed
          05/15/2023                                 order) (myt) (Entered: 05/15/2023)

                                  44                 First Amended Notice of Objection to Proof of Claim of Citibank N.A.
                                  (1 pg)             for Cause and Notice of Hearing (RE: related document(s)43 First
                                                     Amended Objection to Proof of Claim (#1) of Citibank N.A for Cause
                                                     by Claimant Citibank, N.A. Filed by Debtor Ordell Elizabeth Moon ,
                                                     Interested Party Don Shannon . (Attachments: # 1 proposed order)
                                                     (myt)). Filed by Debtor Ordell Elizabeth Moon , Interested Party Don
          05/15/2023                                 Shannon (myt) (Entered: 05/15/2023)

                                  45                 Declaration of Service (RE: related document(s)43 Objection to Claim,
                                  (1 pg)             44 Opportunity for Hearing). Filed by Debtor Ordell Elizabeth Moon ,
          05/15/2023                                 Interested Party Don Shannon (myt) (Entered: 05/15/2023)

                                  46                 BNC Certificate of Mailing (RE: related document(s) 42 Order). Notice
          05/17/2023              (4 pgs)            Date 05/17/2023. (Admin.) (Entered: 05/17/2023)

                                  47                 Statistical Summary of Certain Liabilities., Summary of Assets and
                                  (39 pgs)           Liabilities for Individual , Schedules A-H. , Declaration About
                                                     Individual Debtor's Schedule (RE: related document(s)1 Voluntary
                                                     Petition (Chapter 13), 5 Order to File Missing Documents). Filed by
                                                     Debtor Ordell Elizabeth Moon (lj) DEFECTIVE ENTRY: Party filer to
          05/22/2023                                 pay required fee. Added creditor (Entered: 05/22/2023)




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                                  48                Order and Notice Regarding Failure to Pay Filing Fee (RE: related
                                  (2 pgs; 2 docs)   document(s)47 Statistical Summary of Certain Liabilities filed by
                                                    Debtor Ordell Elizabeth Moon, Summary of Assets and Liabilities,
                                                    Schedules A-H, Declaration About Individual Debtor's Schedule). Non-
          05/22/2023                                Compliance (Payments) due by 6/5/2023. (lj) (Entered: 05/22/2023)

                                  49                Notice of Deficiency Letter (RE: related document(s)48 Order and
                                  (2 pgs; 2 docs)   Notice Regarding Failure to Pay Filing Fee (RE: related document(s)47
                                                    Statistical Summary of Certain Liabilities filed by Debtor Ordell
                                                    Elizabeth Moon, Summary of Assets and Liabilities, Schedules A-H,
                                                    Declaration About Individual Debtor's Schedule). Non-Compliance
          05/22/2023                                (Payments) due by 6/5/2023. (lj)). (lj) (Entered: 05/22/2023)

                                  50                BNC Certificate of Mailing - Fail to Pay Filing Fees. (RE: related
                                  (2 pgs)           document(s) 48 Order to Pay Filing Fee). Notice Date 05/24/2023.
          05/24/2023                                (Admin.) (Entered: 05/24/2023)

                                  51                BNC Certificate of Mailing (RE: related document(s) 49 Notice).
          05/24/2023              (2 pgs)           Notice Date 05/24/2023. (Admin.) (Entered: 05/24/2023)

                                  52                Notice of Debtor's Request for Instructive Relief to Make More
                                  (9 pgs; 2 docs)   Definite and Certain the Legal Tender of Payment of Filing Fees
                                                    Ordered by Court Filed by Debtor Ordell Elizabeth Moon , Interested
                                                    Party Don Shannon (Attachments: # 1 Declaration of Service) (myt)
          05/26/2023                                (Entered: 05/30/2023)

                                  53                Order to Pay Filing Fee (RE: related document(s)48 Order to Pay
                                  (4 pgs; 2 docs)   Filing Fee, 49 Notice, 52 Notice filed by Debtor Ordell Elizabeth
          05/30/2023                                Moon, Interested Party Don Shannon). (lp) (Entered: 05/30/2023)

                                  54                Objection to Confirmation of Plan Filed by Creditor Deutsche Bank
                                  (6 pgs; 2 docs)   National Trust Company, as Indenture Trustee under the Indenture
                                                    relating to IMH Assets Corp., Collateralized Asset-Backed Bonds,
                                                    Series 2005-7 (Attachments: # 1 Certificate of Service) (Wan, Fanny)
          05/31/2023                                (Entered: 05/31/2023)

                                  55                BNC Certificate of Mailing (RE: related document(s) 53 Order). Notice
          06/01/2023              (4 pgs)           Date 06/01/2023. (Admin.) (Entered: 06/01/2023)

                                  56                Notice Of Affidavit of Impecuniosity together with Declaration of
                                  (4 pgs)           Service Filed by Debtor Ordell Elizabeth Moon (lj) (Entered:
          06/07/2023                                06/07/2023)

                                  57                Order Regarding Outstanding Fee (RE: related document(s)53 Order).
          06/07/2023              (3 pgs; 2 docs)   (lp) (Entered: 06/07/2023)




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                                  58           Notice of Hearing (RE: related document(s)43 First Amended
                                  (3 pgs)      Objection to Proof of Claim (#1) of Citibank N.A for Cause by
                                               Claimant Citibank, N.A. Filed by Debtor Ordell Elizabeth Moon,
                                               Interested Party Don Shannon. (Attachments: # 1 proposed order)
                                               (myt)). Hearing scheduled for 7/12/2023 at 10:15 AM in/via
                                               Tele/Videoconference - www.canb.uscourts.gov/calendars. Filed by
                                               Creditor Cenlar FSB as Servicer for Citibank, N.A. (Smith, Nathan)
          06/08/2023                           (Entered: 06/08/2023)

                                  59           BNC Certificate of Mailing (RE: related document(s) 57 Order). Notice
          06/09/2023              (4 pgs)      Date 06/09/2023. (Admin.) (Entered: 06/09/2023)

                                               Receipt of Amendment Filing Fee. Amount 32.00 from Ordell
                                               Elizabeth Moon. Receipt Number 30067598. (admin) (Entered:
          06/09/2023                           06/09/2023)

                                               Statement Adjourning Meeting of 341(a) Meeting of Creditors.
                                               Meeting of Creditors Continued. Next Meeting of Creditors to be Held
                                               on 8/8/2023 at 10:00 AM at Tele/Videoconference -
                                               www.canb.uscourts.gov/calendars. Debtor appeared. (Burchard, David)
          06/15/2023                           (Entered: 06/15/2023)

                                  60           Courtesy Notice of Error and Request Correction of Intent/Purpose of
                                  (4 pgs)      July 12, 2023 Hearing with Declaration of Service Filed by Debtor
                                               Ordell Elizabeth Moon , Interested Party Don Shannon (myt) (Entered:
          06/16/2023                           06/16/2023)

                                  61           Response TO FIRST AMENDED OBJECTION TO PROOF OF CLAIM
                                  (52 pgs)     OF CITIBANK N.A. with Proof of Service (RE: related document(s)43
                                               Objection to Claim). Filed by Creditor Cenlar FSB, servicer for
          06/27/2023                           Citibank, N.A. (Smith, Nathan) (Entered: 06/27/2023)

                                  62           Notice of Hearing (RE: related document(s)38 Objection to any Proof
                                  (2 pgs)      of Claim Filed by Deutsche Bank National Trust Company Filed by
                                               Debtor Ordell Elizabeth Moon, Interested Party Don Shannon.
                                               (Attachments: # 1 proposed order) (myt)). Hearing scheduled for
                                               8/9/2023 at 10:10 AM in/via Tele/Videoconference -
                                               www.canb.uscourts.gov/calendars. Filed by Creditor Deutsche Bank
                                               National Trust Company, as Indenture Trustee under the Indenture
                                               relating to IMH Assets Corp., Collateralized Asset-Backed Bonds,
                                               Series 2005-7 (Wan, Fanny) NOTE: Hearing time corrected to 10:10
                                               am per Chapter 13 Calendar Procedures. Modified on 6/30/2023 (lp).
          06/29/2023                           (Entered: 06/29/2023)

                                  63           Response to the Debtors Objection to any Proof of Claim Filed by
                                  (9 pgs)      Deutsche Bank National Trust Company. (RE: related document(s)38
                                               Objection to Claim). Filed by Creditor Deutsche Bank National Trust
                                               Company, as Indenture Trustee under the Indenture relating to IMH
                                               Assets Corp., Collateralized Asset-Backed Bonds, Series 2005-7 (Wan,
          06/29/2023                           Fanny) Modified on 6/29/2023 (klr). (Entered: 06/29/2023)

                                  64           Certificate of Service (RE: related document(s)62 Notice of Hearing,
                                  (2 pgs)      63 Response). Filed by Creditor Deutsche Bank National Trust
          06/29/2023                           Company, as Indenture Trustee under the Indenture relating to IMH



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                       Case 5:23-cv-04521-PCP Document 1-3 Filed 09/05/23 Page 8 of 11
                                                    Assets Corp., Collateralized Asset-Backed Bonds, Series 2005-7 (Wan,
                                                    Fanny) (Entered: 06/29/2023)

                                  65                Amended Notice of Hearing on Debtor's Objection to Any Proof of
                                  (4 pgs; 2 docs)   Claim filed by Deutsche Bank national Trust Company (RE: related
                                                    document(s)38 Objection to any Proof of Claim Filed by Deutsche
                                                    Bank National Trust Company Filed by Debtor Ordell Elizabeth Moon,
                                                    Interested Party Don Shannon. (Attachments: # 1 proposed order)
                                                    (myt)). Hearing scheduled for 8/9/2023 at 10:10 AM in/via
                                                    Tele/Videoconference - www.canb.uscourts.gov/calendars. Filed by
                                                    Creditor Deutsche Bank National Trust Company, as Indenture Trustee
                                                    under the Indenture relating to IMH Assets Corp., Collateralized Asset-
                                                    Backed Bonds, Series 2005-7 (Attachments: # 1 Certificate of Service)
          07/01/2023                                (Wan, Fanny) (Entered: 07/01/2023)

                                  66                Debtor's Response to Response to First Amended Objection to Proof of
                                  (8 pgs)           Claim of Citibank N.A. together with Declaration of Service (RE:
                                                    related document(s)61 Response). Filed by Debtor Ordell Elizabeth
          07/03/2023                                Moon (lj) (Entered: 07/03/2023)

                                  67                Trustee's Motion to Dismiss Case with Attachment A, Declaration and
          07/11/2023              (5 pgs)           Certificate of Service. (Burchard, David (tm)) (Entered: 07/11/2023)

                                  68                Notice of Hearing with Certificate of Service (RE: related
                                  (2 pgs)           document(s)67 Trustee's Motion to Dismiss Case with Attachment A,
                                                    Declaration and Certificate of Service. (Burchard, David (tm))).
                                                    Hearing scheduled for 8/9/2023 at 10:10 AM in/via
                                                    Tele/Videoconference - www.canb.uscourts.gov/calendars. Filed by
          07/11/2023                                Trustee David Burchard (Burchard, David (tm)) (Entered: 07/11/2023)

                                                    Hearing Held. Debtor's attorney-in-fact Don Shannon appeared for
                                                    debtor. Christina Khil appeared for Citibank, N.A. Debtor's objections
                                                    are overruled for the reasons stated on the record. The claim is allowed
                                                    as filed. The court finds no basis to award sanctions requested by the
                                                    debtor. Ms. Khil to submit an order. (related document(s): 43 Objection
                                                    to Claim filed by Ordell Elizabeth Moon, Don Shannon) (lp) (Entered:
          07/12/2023                                07/12/2023)

                                  69
                                                        PDF with attached Audio File. Court Date & Time [ 7/12/2023
                                  (1 pg)
                                                    10:10:00 AM ]. File Size [ 59321 KB ]. Run Time [ 01:01:48 ].
          07/12/2023                                (admin). (Entered: 07/12/2023)

                                  70                Certificate of Service of Proposed Order Denying First Amended
                                  (2 pgs)           Objection to Proof of Claim of Citibank, N.A. (RE: related
                                                    document(s)43 Objection to Claim). Filed by Creditor Citibank, N.A.
          07/18/2023                                (Smith, Nathan) (Entered: 07/18/2023)

                                  71                Order Denying First Amended Objection to Proof of Claim of Citibank
                                  (4 pgs; 2 docs)   N. A. [Docket No. 43] (RE: related document(s)43 Objection to Claim
                                                    filed by Debtor Ordell Elizabeth Moon, Interested Party Don Shannon).
          07/19/2023                                (lp) (Entered: 07/19/2023)




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                                  72                BNC Certificate of Mailing (RE: related document(s) 71 Order on
          07/21/2023              (5 pgs)           Objection). Notice Date 07/21/2023. (Admin.) (Entered: 07/21/2023)

                                  73                Debtor's Opposition to Motion of Chapter 13 Trustee, David Burchard,
                                  (7 pgs)           to Dismiss Case Prior to Confirmation for Cause (RE: related
                                                    document(s)67 Motion to Dismiss Case (batch)). Filed by Debtor
                                                    Ordell Elizabeth Moon , Interested Party Don Shannon (myt) (Entered:
          07/27/2023                                07/27/2023)

                                  74                Debtor's Response to Response to Debtor's Objection to Proof of Claim
                                  (11 pgs)          of Deutsche Bank National Trust Company for Cause (RE: related
                                                    document(s)63 Response). Filed by Debtor Ordell Elizabeth Moon ,
          07/27/2023                                Interested Party Don Shannon (myt) (Entered: 07/27/2023)

                                                    Statement Adjourning Meeting of 341(a) Meeting of Creditors.
                                                    Meeting of Creditors Continued. Next Meeting of Creditors to be Held
                                                    on 9/12/2023 at 02:00 PM at Tele/Videoconference -
                                                    www.canb.uscourts.gov/calendars. Debtor appeared. (Burchard, David)
          08/09/2023                                (Entered: 08/09/2023)

                                                    Hearing Held. Trustee David Burchard appeared. Debtor's attorney-in-
                                                    fact Don Shannon appeared for debtor. Fanny Wan appeared for
                                                    Deutsche Bank. The motion to dismiss is granted for the reasons stated
                                                    on the record. The Court will prepare the order. (related document(s):
          08/09/2023                                67 Motion to Dismiss Case (batch)) (lp) (Entered: 08/09/2023)

                                                    Hearing Held. Trustee David Burchard appeared. Debtor's attorney-in-
                                                    fact Don Shannon appeared for debtor. Fanny Wan appeared for
                                                    Deutsche Bank. The objection is overruled for the reasons stated on the
                                                    record; the claim is allowed. Ms. Fan to submit an order. (related
                                                    document(s): 38 Objection to Claim filed by Ordell Elizabeth Moon,
          08/09/2023                                Don Shannon) (lp) Modified on 8/9/2023 (lp). (Entered: 08/09/2023)

                                  75                Order Dismissing Case (Related Doc # 67) Case Management Action
          08/09/2023              (5 pgs; 4 docs)   due after 9/25/2023. (lp) (Entered: 08/09/2023)

                                  76                Certificate of Mailing Regarding (RE: related document(s)75 Order
                                  (7 pgs; 2 docs)   Dismissing Case (Related Doc 67) Case Management Action due after
          08/09/2023                                9/25/2023. (lp)). (lp) (Entered: 08/09/2023)

                                  77
                                                        The Audio File attached to the PDF includes several hearings.
                                  (1 pg)
                                                    Court Date & Time [ 8/9/2023 10:10:00 AM ]. File Size [ 29436 KB ].
          08/09/2023                                Run Time [ 00:30:40 ]. (admin). (Entered: 08/09/2023)

                                  78                Order on Objection to Any Proof of Claim Filed By Deutche Bank
                                  (3 pgs; 2 docs)   National Trust Company Regarding Objection (RE: related
                                                    document(s)38 Objection to Claim filed by Debtor Ordell Elizabeth
          08/10/2023                                Moon, Interested Party Don Shannon). (lp) (Entered: 08/10/2023)

                                  79                BNC Certificate of Mailing - Notice of Dismissal. (RE: related
                                  (3 pgs)           document(s) 75 Order on Trustee's Motion to Dismiss Case (batch)).
          08/11/2023                                Notice Date 08/11/2023. (Admin.) (Entered: 08/11/2023)




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                                   80                 BNC Certificate of Mailing - Electronic Order (RE: related
                                   (4 pgs)            document(s) 75 Order on Trustee's Motion to Dismiss Case (batch)).
           08/11/2023                                 Notice Date 08/11/2023. (Admin.) (Entered: 08/11/2023)

                                   81                 BNC Certificate of Mailing (RE: related document(s) 76 Notice).
           08/11/2023              (8 pgs)            Notice Date 08/11/2023. (Admin.) (Entered: 08/11/2023)

                                   82                 BNC Certificate of Mailing (RE: related document(s) 78 Order on
           08/12/2023              (4 pgs)            Objection). Notice Date 08/12/2023. (Admin.) (Entered: 08/12/2023)

                                   83                 Notice of Appeal to District Court , Fee Amount $ 298. (RE: related
                                   (2 pgs)            document(s)75 Order on Trustee's Motion to Dismiss Case (batch)).
                                                      Appellant Designation due by 9/8/2023. Statement of Issues due by
                                                      9/8/2023. Transmission of Record to District Court due by 9/22/2023.
           08/23/2023                                 Filed by Debtor Ordell Elizabeth Moon (jmb) (Entered: 08/23/2023)

                                                      Receipt of Appeal Filing Fee. Amount 298.00 from Ordell E Moon.
           08/23/2023                                 Receipt Number 30067637. (admin) (Entered: 08/24/2023)

                                   84                 Service of Notice of Appeal to Christina J. Khil, Fanny Zhang Wan:
                                   (3 pgs; 2 docs)    Attorney for Appellee(s) Ordell Elizabeth Moon: Appellant(s), and
                                                      United States Trustee via the Bankruptcy Noticing Center. (RE: related
           08/24/2023                                 document(s)83 Notice of Appeal). (no) (Entered: 08/24/2023)

                                   85                 BNC Certificate of Mailing (RE: related document(s) 84 Service of
                                   (4 pgs)            Notice of Appeal). Notice Date 08/26/2023. (Admin.) (Entered:
           08/26/2023                                 08/26/2023)

                                   86                 Transmission of Notice of Appeal to District Court (RE: related
                                   (11 pgs; 3 docs)   document(s)83 Notice of Appeal, 84 Service of Notice of Appeal).
                                                      (Attachments: # 1 Notice of Appeal # 2 Appeal Documents) (jmb)
           08/31/2023                                 (Entered: 08/31/2023)

                                   87                 Motion for Order Imposing a Stay or Continuing the Automatic Stay as
                                   (34 pgs; 4 docs)   the Court Deems Appropriate Filed by Debtor Ordell Elizabeth Moon ,
                                                      Interested Party Don Shannon (Attachments: # 1 Declaration # 2
           08/31/2023                                 Exhibits # 3 Declaration of Service) (myt) (Entered: 08/31/2023)

                                   88                 Notice of Motion in Individual Case for Order Imposing a Stay or
                                   (2 pgs)            Continuing the Automatic Stay as the Court Deems Appropriate (RE:
                                                      related document(s)87 Motion for Order Imposing a Stay or Continuing
                                                      the Automatic Stay as the Court Deems Appropriate Filed by Debtor
                                                      Ordell Elizabeth Moon , Interested Party Don Shannon (Attachments: #
                                                      1 Declaration # 2 Exhibits # 3 Declaration of Service) (myt)). Filed by
                                                      Debtor Ordell Elizabeth Moon , Interested Party Don Shannon (myt)
           08/31/2023                                 (Entered: 08/31/2023)

                                   89                 Order Denying Motion to Impose Stay (Related Doc # 87) (lp)
           09/05/2023              (3 pgs; 2 docs)    (Entered: 09/05/2023)




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